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     Attorneys for Defendant Matthews
14   International Corporation

15
                                    UNITED STATES DISTRICT COURT
16
                               NORTHERN DISTRICT OF CALIFORNIA
17
                                         SAN JOSE DIVISION
18

19
     TESLA, INC.                                     Case No. 24-cv-03615-EJD
20
                       Plaintiff,                    DECLARATION OF RYAN K.
21                                                   WALSH IN SUPPORT OF
            v.                                       DEFENDANT’S ADMINISTRATIVE
22                                                   MOTION TO CONSIDER
     MATTHEWS INTERNATIONAL                          WHETHER CASES SHOULD BE
23   CORPORATION                                     RELATED

24                     Defendant.

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                                                                      WALSH DECL. ISO DEFENDANT’S
                                                                      ADMIN. MOT. TO RELATE CASES
                                                                          Case No. 24-cv-03615-EJD
     Case 5:24-cv-03615-EJD          Document 84-1        Filed 03/13/25       Page 2 of 3



 1          I, Ryan K. Walsh, hereby declare as follows:

 2          1.      I am an attorney duly licensed to practice law in the state of Georgia. I have been

 3   allowed to appear pro hac vice in this action. I am a partner at Jones Day, attorneys of record for

 4   Defendant Matthews International Corporation (“Matthews”) in this action. I have personal

 5   knowledge of the facts set forth herein and, if called upon as a witness, I could and would testify to

 6   such facts under oath.

 7          2.      I submit this Declaration in support of Matthews’ Administrative Motion to

 8   Consider Whether Cases Should Be Related (“Motion”). I have reviewed this Motion.

 9          3.      In the Motion, Matthews explains why Tesla, Inc. v. Matthews International

10   Corporation, Case No. 25-cv-01533-SVK and Tesla, Inc. v. Matthews International Corporation,

11   Case No. 24-cv-03615-EJD meet the definition of “related cases” under Civil Local Rule 3-12(a).

12          4.      As contemplated by Civil Local Rule 7-11, Matthews attempted to determine the

13   position of the other parties to the foregoing cases regarding whether the cases are related.

14          5.      I spoke with counsel for Tesla, Inc. (“Tesla”) on the phone on February 14, 2025

15   regarding this Motion. After that telephone conversation, counsel for Tesla requested a follow-up

16   conference regarding this Motion, which was held over Microsoft Teams on February 18, 2025.

17   Counsel for Tesla did not agree that the above-referenced actions met the definition of “related

18   cases” under Civil Local Rule 3-12(a).

19          6.      For the foregoing reasons, Matthews was not able to obtain a stipulation to

20   accompany the Motion.

21          I declare under penalty of perjury under the laws of the United States that the foregoing is

22   true and correct.

23     Dated: March 13, 2025                              JONES DAY
24

25                                                        By: /s/ Ryan K. Walsh
                                                              Ryan K. Walsh
26
                                                              Attorney for Defendant Matthews
27                                                            International Corporation
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                                                                             WALSH DECL. ISO DEFENDANT’S
                                                                             ADMIN. MOT. TO RELATE CASES
                                                    -1-                          Case No. 24-cv-03615-EJD
     Case 5:24-cv-03615-EJD          Document 84-1        Filed 03/13/25      Page 3 of 3



 1          Pursuant to Local Rule 5-1, the below filer attests that concurrence in the filing of this

 2   document has been obtained from the above Signatory.

 3
                                                                          By: /s/ David C. Kiernan
 4                                                                                David C. Kiernan
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                                                                             WALSH DECL. ISO DEFENDANT’S
                                                                             ADMIN. MOT. TO RELATE CASES
                                                    -2-                          Case No. 24-cv-03615-EJD
